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15

16
                            UNITED STATES DISTRICT COURT

17
                          CENTRAL DISTRICT OF CALIFORNIA

18     S.T., a minor, by and through her guardian   Case No.: CV 19-6693-GW-SKx
       ad litem, N.T.; and N.T., as an individual
19                                                  PROTECTIVE ORDER – SPECIFIC
                   Plaintiff,                       TO IDENTITIES OF PERSONS
20
             v.                                     WHO REPORTED TO THE
                                                    DEPARTMENT OF CHILDREN
21                                                  AND FAMILY SERVICES
       LOS ANGELES UNIFIED SCHOOL
22
       DISTRICT, AND DOES 1-10 inclusive,
23
                   Defendants.
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         __________________________________________________________________________
          [proposed] PROTECTIVE ORDER – SPECIFIC TO IDENTITITES OF PERSONS WHO
            REPORTED TO THE DEPARTMENT OF CHILDREN AND FAMILY SERVICES
                                             -1-
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 1                                           Protective Order
 2          On November 29, 2021, this Court ruled that Defendant Los Angeles Unified
 3    School District must disclose the identity of any school employees who made any of
 4    the reports to the Department of Children and Family Services at issue in this case.
 5    However, this Court also indicated that it would order such disclosure only after an
 6    appropriate protective order was in place in this action regarding these identities.
 7          Therefore, this Court issues the following protective order:
 8          1. The parties and their respective counsel, including employees of counsels’
 9              offices, will keep these names confidential, and will only use the identities
10              of the parties as necessary for purposes of this litigation. These names are
11              not to be disclosed by the parties to anyone outside of this litigation,
12              including after the case is concluded.
13          2. The jury will be instructed at the beginning and end of trial that the
14              identities of the reporting party(ies) are to be treated as confidential and are
15              not to be disclosed outside of the courtroom, including after their service
16              on the jury has concluded.
17          3. To the extent any documents are filed containing the name of the reporting
18              party(ies) such documents will be filed with the names redacted, or under
19              seal if the document is such that redaction is not practical.
20          4. If there are any individuals in the courtroom observing trial proceedings,
21              the Court will make an announcement at the beginning of each session that
22              the names of any reporting party(ies) identified during trial are confidential
23              and may not be disclosed outside of the courtroom.
24          5. [Defendant’s addition: In order to track who is in attendance each day of
25              Court and therefore subject to the Protective Order, the Court will have a
26              log in sheet each day for each attendee to sign, and which will attach this
27              Protective Order.
28
         __________________________________________________________________________
          [proposed] PROTECTIVE ORDER – SPECIFIC TO IDENTITITES OF PERSONS WHO
            REPORTED TO THE DEPARTMENT OF CHILDREN AND FAMILY SERVICES
                                             -2-
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 1          6. A violation of this Protective Order will have the same force and effect as
 2             if it was a violation of any Court Order, including contempt of Court.]
 3
      IT IS SO ORDERED
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 5    DATED: December 2, 2021                      _______________________
                                                   HON. GEORGE H. WU,
 6                                                 U.S. DISTRICT JUDGE
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          [proposed] PROTECTIVE ORDER – SPECIFIC TO IDENTITITES OF PERSONS WHO
            REPORTED TO THE DEPARTMENT OF CHILDREN AND FAMILY SERVICES
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